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U.S. DISTMC™ COURT
WESTERN DISTR 7 OF LOUISIANA

UNITED STATES DISTRICT COURT

DEC | 2 2 2003

WESTERN DISTRICT OF LOUISIANA

LAFAYETTE DIVISION

 

USDC, WESTERN DISTRICT OF L-
ROBERT H, SHEMWELL, CLERK

UNITED GAMEFOWL BREEDERS * DATE Mo, 3b
ASSOCIATION, INC., et al., BY
* CIVIL ACTION NO. 03-CV-970
Plaintiff,
* JUDGE DOHERTY
Vv.

* MAGISTRATE JUDGE HILL
ANNE VENEMAN, IN HER
OFFICIAL CAPACITY AS *
SECRETARY, UNITED STATES
DEPARTMENT OF AGRICULTURE, *
et al.

Defendants.

ANSWER IN INTERVENTION

Intervenor-Defendant The Humane Society of the United States (“The
HSUS”) submits this Answer In Intervention to the Complaint for Temporary
Restraining Order, Preliminary and Permanent Injunction, and Other Relief,
filed by Plaintiffs in the captioned action. In response to the averments in the
Complaint, The HSUS answers as follows:

I.
NATURE OF THE ACTION

The allegations in this section of the Complaint are introductory in

nature and require no answer. This section also purports to describe generally

NO 99421282.1

 
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the statutory provisions at issue and in answer The HSUS states that the
provisions speak for themselves.

II.
PARTIES

The HSUS is without knowledge or information sufficient to form a belief
as to the truth or falsity of the averments in this section of the Complaint.

Ill.
JURISDICTION AND VENUE

The HSUS admits to this Court’s subject matter jurisdiction.
The HSUS is without knowledge or information sufficient to form a belief
as to whether venue is proper in this District.

IV.
GENERAL ALLEGATIONS

1. The HSUS admits that the Animal Welfare Act (“AWA”) was
amended in 2002. As to the remaining allegations of this paragraph, the
amendments speak for themselves.

2. The HSUS admits that AWA amendments were adopted by the
107% Congress and that their consideration during that Congress is a matter of
record, but by way of further answer notes that these provisions were also
considered in the 106t Congress.

3. The HSUS denies the allegation that Congress gave the challenged
amendments “very little attention.” The Act’s revision in 1976 is a matter of
record and the provisions adopted speak for themselves.

4. The HSUS is without knowledge or information sufficient to form a

belief as to the truth or falsity averments in this paragraph.

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5. The HSUS admits that as of 1976, 47 states had banned
cockfighting. The HSUS denies the characterizations of the proceedings related
to adoption of the 2002 amendments to the AWA. The HSUS is without
knowledge or information sufficient to form a belief as to the truth or falsity of
the remaining averments in this paragraph.

6. The HSUS denies these argumentative characterizations of the
purposes and effect of the 1976 and 2002 amendments to the AWA.

7. The HSUS denies the characterization of the pertinent legislative
record. The HSUS is without knowledge or information sufficient to form a
belief as to the truth or falsity of the remaining allegations in this paragraph.

8, This paragraph consists solely of professed surmise and argument
rather than factual allegation and thus requires no response, but to the extent
a response is required, the averments in this paragraph are denied.

9. This paragraph consists solely of professed surmise and argument
rather than factual allegation and thus requires no response, but to the extent
a response is required, the averments in this paragraph are denied.

10. This paragraph consists solely of professed surmise and argument
rather than factual allegation and thus requires no response, but to the extent
a response is required, the averments in this paragraph are denied.

11. This paragraph consists solely of professed surmise and argument
rather than factual allegation and thus requires no response, but to the extent

a response is required, the averments in this paragraph are denied.

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12. This paragraph consists solely of professed surmise and argument
rather than factual allegation and thus requires no response, but to the extent
a response is required, the averments in this paragraph are denied.

13. The HSUS denies the characterization of positions taken by state
law enforcement officials in support of the 2002 AWA amendments. The
remainder of this paragraph consists solely of argument rather than factual
allegation and thus requires no reply, but to the extent a response is required,
the averments in this paragraph are denied.

14. Denied.

15. The HSUS denies the generality of these allegations, and is without
knowledge or information sufficient to form a belief as to the truth or falsity of
the allegations in specific instances.

16. The HSUS denies the generality of these allegations, and is without
knowledge or information sufficient to form a belief as to the truth or falsity of
the allegations in specific instances.

17. The HSUS denies the generality of these allegations, and is without
knowledge or information sufficient to form a belief as to the truth or falsity of
the allegations in specific instances.

Vv

COUNT ONE - LACK OF AUTHORITY UNDER
THE INTERSTATE COMMERCE CLAUSE

18. All of the foregoing responses are incorporated by reference.

19. Denied.

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VI.
COUNT TWO - DEPRIVATION OF DUE PROCESS

20. All of the foregoing responses are incorporated by reference.

21. Denied.

22. The HSUS admits that the AWA was amended in 1976 and 2002
with regard to animal fighting. The HSUS denies the further characterization
of the legislative history.

23. The HSUS admits that an overwhelming Congressional majority
supported the 2002 AWA amendments, that hearings were conducted in
connection with that legislative activity, and that a committee report was
prepared. The HSUS denies the further argumentative characterization of the
legislative activity.

VII.
COUNT THREE - DENIAL OF EQUAL PROTECTION

24. All of the foregoing responses are incorporated by reference.

25. This paragraph consists solely of professed surmise and argument
rather than factual allegation and thus requires no response, but to the extent
a response is required, the averments in this paragraph are denied.

26. This paragraph consists solely of professed surmise and argument
rather than factual allegation and thus requires no response, but to the extent
a response is required, the averments in this paragraph are denied.

27. This paragraph consists solely of professed surmise and argument
rather than factual allegation and thus requires no response, but to the extent

a response is required, the averments in this paragraph are denied.

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28. This paragraph consists solely of professed surmise and argument
rather than factual allegation and thus requires no response, but to the extent
a response is required, the averments in this paragraph are denied.

Vill.
THE IMPACT UPON PLAINTIFFS

29. Admitted.

30. The HSUS is without knowledge or information sufficient to form a
belief as to the truth or falsity of the allegations in this paragraph.

31. The HSUS is without knowledge or information sufficient to form a
belief as to the truth or falsity of the allegations in this paragraph.

32. No response to this allegation is required, as Plaintiff Kinsinger has
been dismissed as a party due to lack of standing.

33. The HSUS is without knowledge or information sufficient to form a
belief as to the truth or falsity of the allegations in this paragraph.

34. The HSUS is without knowledge or information sufficient to form a
belief as to the truth or falsity of the allegations in this paragraph.

35. The HSUS is without knowledge or information sufficient to form a
belief as to the truth or falsity of the allegations in this paragraph.

36. The HSUS is without knowledge or information sufficient to form a
belief as to the truth or falsity of the allegations in this paragraph.

IX.

INJUNCTIVE RELIEF - TEMPORARY RESTRAINING ORDER,
PRELIMINARY AND PERMANENT INJUNCTIONS

37. [SIC] All of the foregoing responses are incorporated by reference.

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38. As the request for a temporary restraining order has been denied,
no response to this averment is required.

39. The HSUS is without knowledge or information sufficient to form a
belief as to the truth or falsity of the allegations in this paragraph.

40. Denied.

x.
DECLARATORY JUDGMENT

41. All of the foregoing responses are incorporated by reference.
42. The HSUS admits that plaintiffs have raised constitutional
challenges to the AWA, but denies that those challenges are legitimate.
PRAYER
The HSUS denies that Plaintiffs are entitled to any judgment or relief in

their favor.

Respectfully submitted,

By: aire

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THE HUMANE SOCIETY OF THE
UNITED STATES

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CERTIFICATE OF SERVICE

I do hereby certify that I have on this 19 day of December, 2003, served

a copy of the foregoing pleading on the Hon. Judge Rebecca F. Doherty by

Federal Express, and upon counsel for all parties to this proceeding by United

States mail, properly addressed, and first-class postage prepaid.
